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                                       ORDERED.


        Dated: June 07, 2019




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
In re

Betzaida A Lugo
aka Betzaida Amaralys Lugo-Serrano
aka Betzaida Sanchez
                                                 CHAPTER        7
                                                 CASE NO.       8:19-bk-03732-MGW
      Debtor
______________________________/

   ORDER GRANTING MOTION FOR RELIEF FROM STAY ON A PROSPECTIVE
    BASIS PURSUANT TO 11 U.S.C. SECTION 362 (d)(4) (DOC. NO. 7) FILED BY
          SUNCOAST CREDIT UNION REGARDING REAL PROPERTY
         THIS CAUSE came on for consideration upon the Motion For Relief From Stay on a

Prospective Basis Pursuant to 11 U.S.C. Section 362 (d)(4) (Doc. No. 7) regarding REAL

PROPERTY LOCATED: 15416 FLORIDA BREEZE LOOP WIMAUMA, FL 33598,

LEGALLY DESCRIBED AS: LOT 15, BLOCK 7, HIDDEN CREEK AT WEST LAKE,

ACCORDING TO THE MAP OR PLAT THEREOF, AS RECORDED IN PLAT BOOK 115,

PAGES 227 THROUGH 232, OF THE PUBLIC RECORDS OF HILLSBOROUGH COUNTY,

FLORIDA (“Collateral”) filed by SUNCOAST CREDIT UNION ("Creditor"). The Motion was

served on interested parties with the Local Rule 2002-4 Negative Notice legend informing the

parties of their opportunity to respond. No party filed a response within the time permitted.

Therefore, the Court deems the matter unopposed. Accordingly, it is
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       ORDERED as follows:

       1.      Creditor's Motion For Relief From Stay On A Prospective Basis Pursuant to 11

U.S.C. Section 362(d)(4) (Doc. No. 7) is granted as set forth below.

       2.      The automatic stay imposed by 11 U.S.C. Section 362 is hereby terminated to

permit Creditor to commence, or recommence as the case may be, prosecute, and complete

through final judgment, sale and issuance of a Writ of Possession and Certificate of Title a

mortgage foreclosure action in state court with respect to the ("Collateral") described as: REAL

PROPERTY LOCATED: 15416 FLORIDA BREEZE LOOP WIMAUMA, FL 33598,

LEGALLY DESCRIBED AS: LOT 15, BLOCK 7, HIDDEN CREEK AT WEST LAKE,
ACCORDING TO THE MAP OR PLAT THEREOF, AS RECORDED IN PLAT BOOK 115,

PAGES 227 THROUGH 232, OF THE PUBLIC RECORDS OF HILLSBOROUGH COUNTY,

FLORIDA.

       3.      The relief granted here permits the Creditor to seek and obtain in rem relief

against the collateral/property only and does not permit the Creditor to seek or obtain in

personam relief against the Debtor(s).

       4.      The Court finds that the Creditor is entitled to prospective relief from the

automatic stay pursuant to Section 362(d)(4) of the Bankruptcy Code as the Court finds that the

filing of the instant bankruptcy petition was part of a scheme involving efforts by the Debtor to

hinder, delay or defraud the Creditor involving multiple filings affecting the subject Real

Property.

       5.      Pursuant to 11 U.S.C. Section 362(d)(4)(B), two-year prospective in rem

stay relief is hereby granted such that no bankruptcy petition filed by anyone in any United States

Bankruptcy Court may impose the automatic stay of 11 U.S.C. § 362(a) with respect to real

property located at 15416 FLORIDA BREEZE LOOP, WIMAUMA, FL 33598 for two years

from the entry of this order, and any pending foreclosure proceeding shall proceed, including any

possession efforts, as if a bankruptcy proceeding were not filed.

       6.      The Creditor may obtain a certified copy of this Court's Order and record same in
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the appropriate Public Records in accordance with Section 362(d)(4) of the Bankruptcy Code, at

which point said Order shall be binding in any other case under Title 11 purporting to affect such

Real Property filed not later than 2 years after the date of the entry of the order.

       7.      Attorney’s fees and costs of up to $631.00 are hereby awarded for the prosecution

of this Motion for Relief from Stay.



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Attorney Nicole Mariani Noel is directed to serve a copy of this order on interested parties who
are non-CM/ECF users and to file a proof of service within three days of the entry of this order.
